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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                          §
                                §
HOUSTON REAL ESTATE PROPERTIES, §                            CASE NO. 22-32998
LLC,                            §                               (Chapter 7)
      Debtor.                   §
                                §
JOHN QUINLAN, OMAR KHAWAJA,     §
AND OSAMA ABDULLATIF,           §
             Movants,           §                            ADVERSARY NO. 23-03141
                                §
v.                              §
                                §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, et al.,                    §
             Respondents.       §

               JOHN QUINLAN, OMAR KHAWAJA, and OSAMA ABDULLATIF’S
                         FIRST SUPPLEMENTAL COMPLAINT

          Movants, John Quinlan, Omar Khawaja, and Osama Abdullatif, file this First Supplemental

Complaint against, Jetall Companies, Inc., Arabella PH 3201 LLC, 9201 Memorial Dr. LLC, 2727

Kirby 26L LLC, Texas REIT LLC, Dalio Holdings I, LLC, Dalio Holdings II, LLC, Houston Real

Estate Properties, LLC [Debtor], Shahnaz Choudhri, Ali Choudhri, Shepherd-Huldy Development

I, LLC, Shepherd-Huldy Development II, LLC, and Galleria Loop Note Holder LLC, adding

Cypress BridgCo, LLC, Magnolia BridgeCo, LLC, and A. Kelly Williams, and seeking injunctive

relief.

                                        Additional Parties

          1.     Defendant, Cypress Bridgeco, LLC, is a domestic limited liability company, that

may be served with process by serving its registered agent, Corporation Service Company d/b/a




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CSC-Lawyers Incorporating Service Company, at its place of business, located at 211 E. 7th Street,

Suite 620 Austin, Texas 78701, or wherever it is located.

           2.       Defendant, Magnolia Bridgeco, LLC, is a domestic limited liability company, that

may be served with process by serving its registered agent, Corporation Service Company d/b/a

CSC-Lawyers Incorporating Service Company, at its place of business, located at 211 E. 7th Street,

Suite 620 Austin, Texas 78701, or wherever it is located.

           3.       Defendant, A. Kelly Williams, is an individual and may be served with service of

process at 12140 Wickchester Ln., Suite 100, Houston, Texas 77079, or wherever he be found.

                                                 Additional Facts

           4.       On August 19, 2022, a Harris County Jury awarded Abdullatif a multi-million-

dollar judgment against Choudhri and HREP in Cause No. 2013-41273, Osama Abdullatif and

Abdullatif & Company, LLC v. Ali Choudhri and Houston Real Estate Properties, LLC; filed in

the 334th Judicial District Court of Harris County (“Lawsuit 1”). Choudhri and HREP spent the

next 3 months trying to prevent the entry of the final judgment in that case, requesting

continuances, swapping out counsel, and seeking removal to federal court.

           5.       These delay tactics were undertaken to frustrate the collection efforts of Abdulatiff,

as well as his other judgment holders Quinlan and Khawaja. Despite the fact that Choudhri and

HREP were faced with three substantial judgments, Choudhri, HREP, and the other Respondents,

began encumbering assets (and specifically here real property) under their collective control with

the following deeds of trust.1




1
    Please note that Movants do not believe these deeds of trust and alleged loans are legi mate.

                                                           2
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        a. Respondent, Shepherd-Huldy Development I, LLC: 2503 S. Shepherd Dr., 2421
           Shepherd Dr., 2502 Huldy St., and 2424 Huldy St. On October 3, 2022, Respondents
           allegedly obtained a loan for $2,277,222.00 from Magnolia BridgeCo, LLC, a
           “mezzanine” or “hard money” lender pledging these properties as collateral;2

        b. Respondent, 9201 Memorial Dr. LLC: 9201 Memorial Drive. On November 2,
           2022, Respondents allegedly obtained another loan for $2,760,000.00 from Cypress
           BridgeCo, LLC, another “mezzanine” or “hard money” lender, pledging the previously
           unencumbered 9201 Memorial Dr. property as collateral;3

        c. Respondent, 2727 Kirby 26L LLC: 2727 Kirby 26L. Also on November 2, 2022,
           Respondents allegedly obtained another loan for $2,079,000.00 from Cypress
           BridgeCo, LLC pledging the previously unencumbered 2727 Kirby 26L property as
           collateral.4


        6.       The encumbrance of these properties with promissory notes was undertaken for the

purpose of allowing Respondents, through their numerous proxies and shills, to place assets

beyond the reach of creditors. A fact which has only become more apparent since the discovery

that these properties are now listed for foreclosure. See Exhibits 1-3.

        7.       A. Kelly Williams, who appeared at a previous hearing in this Court prepared to

testify on behalf of some or all of the Respondents, is named in the Deeds of Trust for 2503 S.

Shepherd Dr., 2421 Shepherd Dr., 2502 Huldy St., and 2424 Huldy St. collectively, 9201 Memorial

Drive, and 2727 Kirby 26L. See Exhibits 1-3.

        8.       On August 14, 2023, Magnolia BridgCo, LLC, Cypress BridgeCo, LLC, and A

Kelly Williams (the “BridgeCo Defendants”), recorded three Notices of Foreclosure Sale: one for

2503 S. Shepherd Dr., 2421 Shepherd Dr., 2502 Huldy St., and 2424 Huldy St. collectively, one




2
  A ached as Exhibit 1 is the No ce of Foreclosure Sale and Deed of Trust for Shepherd‐Huldy Development I, LLC.
3
  A ached as Exhibit 2 is the No ce of Foreclosure Sale and Deed of Trust for 9201 Memorial Dr. LLC.
4
  A ached as Exhibit 3 is the No ce of Foreclosure Sale and Deed of Trust for 2727 Kirby 26L LLC.

                                                        3
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for 9201 Memorial Drive, and one for 2727 Kirby 26L, in an obvious attempt to insulate these

assets from collections.

                     Causes of Action as to the Additional and New Parties

Fraudulent Transfer.

       9.      The BridgeCo Defendants committed fraudulent transfers. Under the Texas

Uniform Fraudulent Transfers Act, a judgment creditor may bring a claim for fraudulent transfer

if debtor’s conveyances were made with actual intent to hinder, delay, or defraud any creditor of

the debtor; or without receiving a reasonably equivalent value in exchange for the transfer or

obligation. TEX. BUS. & COM. CODE § 24.005. The BridgeCo Defendants’ concealment and

facilitation of certain transactions, only some of which are discussed herein, constitute fraudulent

conveyances under TEX. BUS. & COM. CODE §§ 24.005 and 24.006.

       10.     The BridgeCo Defendants’ fraudulent conveyances of these properties are the latest

in a long history of obfuscation of justice and attempts at evasion, as they seek to hinder, delay,

and defraud Movants as judgment creditors. Further, Choudhri desires to devalue his personal

assets and, upon information and belief, has not received a reasonably equivalent value in return

for these transfers, to discourage his creditors from seizing assets. Pursuant to TEX. BUS. & COM.

CODE § 24.008, Movants seek: [i] an avoidance of the transfer or obligation to the extent

necessary to satisfy their claim; [ii] an injunction and injunctive relief against further disposition

by the all Defendants, or a transferee, or both, of the asset transferred or of other property; [iii]

their reasonable and necessary attorneys’ fees and court costs; [iv] that a constructive trust be

imposed for the assets fraudulently transferred; and [v] after obtaining a judgment against the

BridgeCo Defendants for their violations, Movants ask that they be authorized to levy execution




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on the assets found to have been fraudulently transferred or their proceeds as well as any other

relief the circumstances may require.

Joint Enterprise Liability.

         11.      On information and belief, the BridgeCo Defendants were engaged in a joint

enterprise because they had an understanding or common purpose to be carried out by the

enterprise, a community of pecuniary interest in that common purpose and an equal right to direct

and control the enterprise. The BridgeCo Defendants also committed one or more torts against

Movants while acting within the scope of the enterprise. Movants have been damaged as a result.

Injunctive Relief

         12.      Movants request an order restraining all Respondents, their agents, attorneys,

trustees, servants, and employees from directly or indirectly devising/selling/foreclosing,

attempting to devise/sell/foreclose, taking steps to perfect the devise/sale/foreclosure, and posting

for devise/sale/foreclosure the aforementioned properties and specifically:

                  [1] 2503 S. Shepherd Dr.,
                  [2] 2421 Shepherd Dr.,
                  [3] 2502 Huldy St.,
                  [4] 2424 Huldy St.,
                  [5] 9201 Memorial Drive, and
                  [6] 2727 Kirby 26L.

These properties are currently posted for foreclosure sale to occur on Tuesday, September 5, 2023.

Injunctive relief is proper and available under multiple legal authorities and specifically the Texas

Uniform Fraudulent Transfer Act5, general injunction statute,6 as well as expressly in the Texas

Property Code to enjoin the foreclosure of real property7.




5
  TEX. BUS. COM. CODE §24.008(a)(3)(A)‐(C).
6
  TEX. CIV. PRAC. REM. CODE §§ 65.011(1) and 65.011(5).
7
  TEX. PROP. CODE § 51.007(e).

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       13.     For the reasons set forth herein above, Movants have established a probable right

to recovery against Respondents. If this application is not granted, probable, imminent and

irreparable harm will result, as a sale of the subject properties on Tuesday, September 5, 2023, that

would permanently deprive Movants of the subject property and prevent their collection on the

judgments included in Movants’ Original Complaint. Movants will also show that there is no

remedy at law that is clear and adequate to protect its property interest against this wrongful

foreclosure, and allowing the foreclosures to go forward would permit Respondents to continue

engaging in the very fraudulent activities that Choudhri and Respondents have been caught by

Courts engaging in time after time. All of these facts make the potential loss of this subject

property irreparable. Additionally, injunctive relief is appropriate to preserve the status quo

pending the outcome of this litigation. This request for injunctive relief is so that justice may be

done, not merely for delay. Movants are willing to post a bond. There is not enough time to serve

notice on Defendants and to hold a hearing on this application, because the BridgeCo Defendants

intend to proceed to foreclosure on Tuesday, September 5, 2023, and Monday is a holiday.

       14.     Movants ask the Court to set its application for temporary injunction for a hearing

and, after the hearing, issue a temporary injunction against all Respondents. Movants further ask

the Court to set its request for a permanent injunction for a full trial on the merits and, after the

trial, issue a permanent injunction against all Respondents.

                                            Conclusion

       Movants, John Quinlan, Omar Khawaja, and Osama Abdullatif, request that all

Respondents, Jetall Companies, Inc., Arabella PH 3201 LLC, 9201 Memorial Dr. LLC, 2727

Kirby 26L LLC, Texas REIT LLC, Dalio Holdings I, LLC, Dalio Holdings II, LLC, Houston Real

Estate Properties, LLC [Debtor], Shahnaz Choudhri, Ali Choudhri, Shepherd-Huldy Development



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I, LLC, Shepherd-Huldy Development II, LLC, Galleria Loop Note Holder LLC, Cypress

BridgeCo, LLC, and Magnolia BridgeCo, LLC be cited to appear and answer, and that on final

trial, Movants have the following relief against all Respondents, jointly and severally:

       a) Judgment against all Respondents for actual, economic, and consequential
          damages in an amount within the jurisdictional limits of the court;

       b) Exemplary damages;

       c) Pre- and post-judgment interest on the damages awarded as provided by law;

       d) Reasonable and necessary attorneys= fees for trial, and if necessary, appeal;

       e) Costs of Court and Suit;

       f) Avoidance of the transfers or obligations to the extent necessary to satisfy
          Movants’ claims;

       g) An injunction against further disposition by Respondents, or a transferee, or
          both, of the assets transferred or of other property;

       h) A constructive trust be imposed for the assets fraudulently transferred;

       i) After obtaining a judgment against Respondents for their violations, Movants
          ask that they be authorized to levy execution on the assets found to have been
          fraudulently transferred or their proceeds as well as any other relief the
          circumstances may require; and

       j) All other relief, at law or in equity, to which Movants are or may be justly
          entitled.

DATED:         August 30, 2023




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                                                        Respectfully submitted,

                                                        HOOVER SLOVACEK LLP




                                                        By: __________________________
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                                                        ATTORNEYS FOR MOVANTS, JOHN
                                                        QUINLAN, OMAR KHAWAJA, AND
                                                        OSAMA ABDULLATIF




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of John Quinlan, Omar Khawaja, and Osama
Abdullatif’s Original Complaint was served electronically upon each of the parties listed on the Court’s
ECF Service List maintained in this case on August 30, 2023.
23-03141 Notice will be electronically mailed to:

Thomas Michael Ballases on behalf of Plaintiff John Quinlan
ballases@hooverslovacek.com

Thomas Michael Ballases on behalf of Plaintiff Omar Khawaja
ballases@hooverslovacek.com

Thomas Michael Ballases on behalf of Plaintiff Osama Abdullatif
ballases@hooverslovacek.com

Angeline Vachris Kell on behalf of Plaintiff John Quinlan

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Jana Smith Whitworth on behalf of U.S. Trustee US Trustee
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Randy W Williams
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23-03141 Notice will be also be emailed to:
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 Jana Smith Whitworth                   Brandon L. Collins                  Kelly Williams
 Office of United States Trustee        Substitute Trustee of Cypress       Cypress Bridgeco LLC
 515 Rusk Street, Suite 3516            Bridgeco LLC                        12140 Wickchester Dr. Suite 111
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